
Barnes, J., and Crone, J.,
concur.
Order
Appellant, by counsel, filed an Appellant’s Motion to Publish Memorandum Decision.
Having reviewed the matter, the Court finds and orders as follows:
1. The Appellant’s Motion to Publish Memorandum Decision is granted.
2. This Court’s opinion heretofore handed down in this cause 6n June 13, 2017, marked Memorandum Decision, is now ordered published.
3. The Clerk of this Court is directed to send copies of said opinion together with copies of this order to the West Publishing Company and to all other services to which published opinions are normally sent.
Ordered 6/22/2017.
Baker, Barnes, Crone, JJ,, concur.
